Case 2:23-cv-01653-RSM Document 57-2 Filed 04/24/24 Page 1 of 3




                EXHIBIT B
         Case 2:23-cv-01653-RSM Document 57-2 Filed 04/24/24 Page 2 of 3




  Hi Jonah,
  Can you confirm if you wish to confer and suggest a time and date that is suitable for you. 10am -12 noon pacific time
  is good for me.

  Also as I have mentioned I do have the original 3D Maya files from Iron Sky Do you think it would be helpful for me to
  give you a shared screen demonstration on zoom of some of the files or any other demonstration that would help you
  understand how 3D animation is created?

  Kind regards

  Trev

  See videos attached for some examples of my work.

  https://www.youtube.com/watch?v=v1jg2x6RwNA

  https://www.youtube.com/watch?v=i3MSphdZO6A

  https://www.youtube.com/watch?v=t6wwJ0JaSlM

  https://www.youtube.com/watch?v=Nxx82h2dN-I
  [Quoted text hidden]



Jonah Harrison <jharrison@aretelaw.com>                                                              29 March 2024 at 19:46
To: Trevor Baylis <trevor.baylis@gmail.com>
Cc: Jeremy Roller <jroller@aretelaw.com>


  Mr. Baylis,



  If you would like to meet and confer, we will do that, but could you please provide a list of the items you
  would like to discuss?



  I propose 11:00 PST Thursday April 4.
  [Quoted text hidden]



Trevor Baylis <trevor.baylis@gmail.com>                                                              30 March 2024 at 10:30
To: Jonah Harrison <jharrison@aretelaw.com>
Cc: Jeremy Roller <jroller@aretelaw.com>

  Hi Jonah,

  I would like to meet and confer in order to facilitate a more economic resolution of the dispute. My requests for
  admissions are supposed to be part of my good faith attempts to narrow the issues and to prevent 'unnecessary side
  quests' which would be a waste of time and resources of the courts.

  I'm not convinced by your previous answers to my submitted admissions because you don't explain your reasoning.
  Your answer is that they require "legal conclusions" but In my opinion they are just facts which in good faith requires
  you to qualified your answer. For instance,

  Why would Iron Sky not be considered a Berne convention work? (RFA set 2)

  Why would Valve believe they qualify for Safe-Harbour protections when they can monetize infringing material and
  have the ability to control it (RFA set 1)




                                                                                                                   BAYLIS_1
       Case 2:23-cv-01653-RSM Document 57-2 Filed 04/24/24 Page 3 of 3




Valve can't be sued by Topware Entertainment as they lack standing (USC17 §103(a)) because Topware are also
infringing copyright but are subject to EU directives not the US DMC Act. That is to say I would have to sue them in
Germany under German law (Berne art 5) not the US as Topware could claim lack of jurisdiction and I would be
wasting my time trying to even serve them!

As I have mentioned before this case revolves around the Chain of Title and who genuinely has standing to seek
"remedies and protections". In my view if Valve were able to grasp that only the 3D artist have standing to protect the
work due to the fact they maintained their rights and didn't "assign" or "sell" them to Producers because there are no
"work for hire" laws in Germany or the Nordics let alone the fact that no actual "work for hire" contracts exists in any
case.

So these things should be discussed


Iron sky chain of title is broken so,

1. Who has standing for “remedies and protections” when it comes to the animated sequences and 3D work of Iron
Sky?

2. No “work for hire” laws in Germany or Nordics

3. No corporate ownership possible in Germany (Topware Entertainment are German publishers)

4. Iron Sky Universe has lack of standing for “remedies and protections”. Eventual bankruptcy

5. Blind Spot Pictures has lack of standing for “remedies and protections”. Eventual bankruptcy

6. Myriad Pictures has lack of standing for “remedies and protections”. No foreclosure of copyrights rules in Germany
and Nordics

"Article 42
Copyright shall not be subject to legal seizure as long as the copyright remains with the author"
https://wipolex-res.wipo.int/edocs/lexdocs/laws/en/fi/fi001en.pdf



7. Topware Entertainment has lack of standing for “remedies and protections”.

8. Valve Corporation has lack of standing for “remedies and protections”.

9. How to fix the chain of title for Iron Sky so that the work can be exploited without further legal problems.

10. Presumption of authorship under Berne article 15

11. Who has actually has legitimate US copyright office registration and what for. Script? 3D artworks? Actual Movie?

12. False Registration of Copyrights by Myriad Pictures. Due to no foreclosure of copyrights rules in Germany and
Nordics.

13. Should Valve sue Topware Entertainment for misrepresentations in their counter-notice.




Kind regards


Trev




                                                                                                                  BAYLIS_2
